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                United States Court of Appeals
                           FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                    ____________


No. 23-5129                                               September Term, 2024
                                                                      1:23-cv-01506-BAH
                                                 Filed On: February 18, 2025 [2101165]
Alpine Securities Corporation,

              Appellant

Scottsdale Capital Advisors Corporation,

              Appellee

      v.

Financial Industry Regulatory Authority and
United States of America,

              Appellees

                                    MANDATE

      In accordance with the judgment of November 22, 2024, and pursuant to Federal
Rule of Appellate Procedure 41, this constitutes the formal mandate of this court.


                                                        FOR THE COURT:
                                                        Clifton B. Cislak, Clerk

                                                BY:     /s/
                                                        Daniel J. Reidy
                                                        Deputy Clerk




Link to the judgment filed November 22, 2024
